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              IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT

THE STATE OF GEORGIA,                  )
                                       )            No. 23-12958
                                       )
                                       )            From the United States District
                                       )            Court for the Northern District
                                       )            of Georgia,
v.                                     )            No. 1-23-cv-3621-SCJ
                                       )
                                       )            Re: Notice of Removal of
                                       )            of Fulton County Superior
                                       )            Court Indictment No.
MARK RANDALL MEADOWS                   )            23SC188947
                                       )

                               RESPONSE IN OPPOSITION TO THE
                                              STAY PENDING
                  APPEAL AND FOR EXPEDITED REVIEW

      Defendant Mark R. Meadows has moved this Court for an Emergency Motion

for Stay Pending Appeal                                                           , by

and through Fulton County District Attorney Fani T. Willis, responds that the

                      does not show he can carry the heavy burden required to

receive such a stay and that he requests additional relief in contravention of federal

law. The State of Georgia respectfully asks that this Court deny the defendant s

Motion.

      On August 14, 2023, a Fulton County grand jury indicted the defendant as

part of a RICO conspiracy involving eighteen additional co-defendants. The next

day, the defendant filed a Notice of Removal. Doc. [1]. Pursuant to 28 U.S.C. § 1455,
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Judge Steve C. Jones of the Northern District of Georgia declined summary remand

two days later and set an evidentiary hearing for August 28. Doc. [6]. Despite the

express language of section 1455 that the filing of a removal notice will not prevent

a criminal case from proceeding, the defendant then asked the district court to enjoin

the State of Georgia from taking any further action below. Doc. [17]. Citing the

statute, the district court denied the request. Doc. [25]. Following the evidentiary

hearing, the district court issued an order refusing to authorize removal on Friday,

September 8, remanding the case to the Fulton County Superior Court. Doc [69]

(hereina                        The defendant appealed the same day, Doc. [71], and

filed the instant motion on Monday, September 11, 2023, as well as a similar motion

before the district court. The next day, September 12, the district court denied the

defendant s motion. Doc. [80]. Also on September 12, this Court directed the State

of Georgia to respond by noon, today, September 13.

                                INTRODUCTION

      In its Remand Order declining to authorize the removal of the defendant s

case, the district court summarized its decision succinctly:

      [T]he Court concludes that if
      arguments regarding removal, the Court would have to turn a blind eye
      to express constitutional power granted to the States to determine their
      election procedures, as well as federal statutory and regulatory
      limitations on political activities of executive branch officials. The
      Court would be ignoring the evidence Meadows himself submitted of
      his post-election related activities and the purpose of the federal officer


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        removal statute. It would be legally and factually erroneous for the
        Court to do so.

Doc. [69] at 47-48. In response, the defendant now asks this Court to endorse his

arguments and turn a blind eye toward clear constitutional authority, federal

regulatory constraints, and the defendant s own testimony. The defendant seeks to

invoke a jurisdictional benefit designed to protect federal authority from state

interference even though the evidence demonstrates that the exact opposite has taken

place: a former federal official strayed outside his authority to attempt to affect the

outcome of a state s presidential election. See id. at 47 (the instant case involves not

state interference with constitutionally protected federal activities, but      federal

interference with constitutionally protected state actions ) (emphasis original). The

State of Georgia respectfully submits that the defendant s requests for relief1 should

be denied.

                                     ARGUMENT

        In considering a motion for a stay, courts apply a four part test:

the stay applicant has made a strong showing that he is likely to succeed on the

merits; (2) whether the applicant will be irreparably injured absent a stay; (3)


1
  Although the defendant asserts that his motion should be considered an
 emergency motion because his requests will become moot, in part within seven
days, he does not articulate which requests, or how they will become moot. To the
extent that he defendant refers to his ongoing participation in Superior Court
proceedings, such activity is explicitly authorized by 28 U.S.C. § 1455 and does not
constitute any kind of injury, as discussed below.

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whether issuance of the stay will substantially injure the other parties interested in

                                                        Hand v. Scott, 888 F.3d 1206,

1207 (11th Cir. 2018). These factors contemplate individualized judgment in each

case, [and] the formula cannot be reduced to a set of rigid rules. Hilton v. Braunskill,

481 U.S. 770, 776 (1987). A stay is considered extraordinary relief for which the

moving party bears a heavy burden.        Larios v. Cox, 305 F. Supp. 2d 1335, 1336

(N.D. Ga. 2004) (quoting Winston-Salem/Forsyth Cty. Bd. Of Educ. v. Scott, 404

U.S. 1221, 1231 (1971)). The defendant also argues that his motion should be subject

to an appreciably lower standard, requiring him to

                See                                                                , 32

F.4th 1363, 1370 (11th Cir. 2002). However, as the district court has held, this lower

                                                                              does not

                                                   Ruiz v. Estelle, 650 F.2d 555, 565

(5th Cir. 1981); Doc. [80] at 6.

      A. The defendant has not made a strong showing that his appeal is
         likely to succeed on the merits.

     The first factor requires                              whether there is a strong

likelihood that the issues presented on appeal could be rationally resolved in favor

of the party seeking the stay. Northrop Grumman Tech. Servs., Inc. v. DynCorp

         , No. 1:16CV534, 2016 WL 3346349, at *2 (E.D. Va. June 16, 2016). A

finding that the movant demonstrates a probable likelihood of success on the merits

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on appeal requires that we determine that the trial court below was clearly

erroneous. Garcia-Mir v. Meese, 781 F.2d 1450, 1453 (11th Cir. 1986), citing In re

Grand Jury Proceedings, 689 F.2d 1351, 1353 (11th Cir. 1982) (per curiam).

     In seeking to show that the district court s Remand Order is clearly erroneous,

the defendant fails to reckon with the same fundamental weaknesses which doomed

his efforts at removal below. The defendant treats his burden for achieving removal,

widely acknowledged as generally permissive, as essentially nonexistent. He does

not address the precedents cited by the district court clarifying that acts under 28

U.S.C. § 1442 are defined as the claims or charges actually at issue in the case.

He cannot demonstrate how his actions are not examples of political activity

expressly forbidden by federal regulations and statutes, and so he attempts to ignore

them. And because he cannot explain his own failure to articulate the scope of his

duties, he argues essentially that there is no scope for his duties.

       The defendant first asserts that the district court clearly erred by flipping

the standard on its head and effectively creat[ing] a conspiracy exception to

federal officer removal. Motion at 12. The district court s considerate evaluation

of the facts actually demonstrates its adherence to precedent, not its repudiation of

it. The Remand Order explains how a case is removable if any discrete claims or

charges, not merely any portion, relate to acts taken within the scope of federal

office. Doc [69] at 12-13. In light of this, the Court then analyzed the nature of the


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RICO charge and made the uncontroversial observation that the prosecution does

not have to prove all, or indeed any, overt acts attributed to the defendant to achieve

a conviction against him for a RICO conspiracy charge, and that therefore the

relevant act was not any (or every) overt act but instead the defendant s alleged

association with the conspiracy. Id. at 20-21. The Court then drew from precedent

from both the Eleventh Circuit (Baucom v. Martin, 677 F.2d 1346, 1347 48 (11th

Cir. 1982)) and the Fourth Circuit (Mayor & City Council of Balt. v. BP P.L.C., 31

F.4th 178, 234 (4th Cir. 2022)) to determine that it had to identify the heart or

 gravamen of the RICO charge and analyzed the overt acts in order to determine

whether Meadows s association with the alleged conspiracy (the conduct for which

he was charged) related to the scope of his federal duties. Id. at 21-22. The

conclusion reached by the Court regarding overt acts was not that the State can

defeat removal if it is possible to convict without relying on an official act, as the

defendant insists. Motion at 12. Instead, the Court reached the rational conclusion

required by the established precedents it had identified: Because the inquiry

hinges on whether Meadows s association with the conspiracy related to the color

of his office, however, jurisdiction is not conferred simply because a single overt

act relates to Meadows s federal office. Doc. [69] at 22 (emphasis added). The

Court did not find that a single overt act can defeat jurisdiction; it found that a




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single overt act was not sufficient to confer jurisdiction. The defendant elides the

careful reasoning of the Remand Order and overstates his case.

         The defendant s second (that the district court improperly created a

 political exception that blinks reality ) and third (that the district court imposed

a heightened burden on the defendant merely by rationally evaluating his own

testimony) can be considered together. They demonstrate the defendant s

continuing effort to create exceptions for himself, despite the obvious implications

of the law and even of his own testimony. Far from creating a political exception,

the district court merely considered that statutes and regulations applying to

executive branch employees, such as the Hatch Act, could demonstrate the limits

of federal officer authority. Doc. [69] at 32. Despite his arguments to this Court,

the defendant conceded on the stand that the Hatch Act applied to him as Chief of

Staff and that he could not engage in political activity. Hearing Tr. 39:7-25; 135:21-

136:5.     Political activity,    in turn, has a specific definition under federal

regulations applicable to the defendant: it is activity directed toward the success

or failure of a political party, candidate for partisan political office, or partisan

political group. 5 C.F.R. § 734.101. The defendant spends much time and effort

outlining various                duties belonging to the President of the United States,

but he does not address that the evidence presented to the district court

demonstrated, on its face, that the defendant regularly engaged in specifically


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forbidden political activity as part of his participation in the conspiracy charged.

The defendant thereby associated himself with the conspiracy by taking actions

    not included in the outer limits of the role of the White House Chief of Staff.

Doc. [69] at 32. The defendant s only response is a series of conclusory statements

that either the Hatch Act somehow does not apply to him, that it has never been

understood that way, or that the district court was somehow violating the

Separation of Powers. Motion at 16 n.9.

         The district court also did not apply a higher standard to the defendant by

merely evaluating his testimony as a finder of fact. The trouble for the defendant

is his continued inability to persuasively demonstrate what the scope of his duties

actually was. What the district court found was that the defendant could not

articulate the scope of his duties at all: because Meadows was unable to explain

the limits of his authority, the Court gave his testimony in that regard

weight. Id. at 28. This sort of appraisal is he same as [the Court] does any other

witness in an evidentiary hearing. Id. at n.12.2 The Court thus did not hold the



2
 The defendant testified that all of his activities were within the scope of his office
and none were impermissible campaign-related political activity. The district
court was free to consider that, several times, the defendant insisted that the word
 we somehow did not mean the defendant and the campaign despite the obvious
context of the defendant s statements. Hearing Tr. 96; 146; 148. The defendant s
claimed personal foible of misuing we appeared at various points where an
ordinary understanding of we would include the defendant within the Trump
campaign and its efforts.

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defendant to a higher standard but to precisely the same standard as any other

witness. It merely assigned less weight to the defendant                      all of his

actions were within the scope of his official duties because the defendant could not

describe what the limits to the scope of his official duties actually were.

      The defendant s arguments thus demonstrate not that the district court

committed clear error by creating new exceptions harmful to him, but that it merely

resisted recognizing exceptions that the defendant insists should apply to him as a

former Chief of Staff. The defendant has still never articulated an understanding of

the scope of his duties that could comply with the clear boundaries established by

the Hatch Act and attendant regulations. Instead, he attempts to make his own

authority indistinguishable from the President s and then to define that authority as

limitless. As his counsel pronounced at the hearing, He is federal operations, the

 alter ego of the one person under our constitutional system in which the executive

branch is embodied. Hearing Tr. 239. In so doing, he allows his own burden for

removal, already minimal, to be erased: he can simply point vaguely to some aspect

of federal authority and claim that, by definition, he must have been duly

authorized to take all of the actions he did. Motion at 14-15; 16 n.10. This is despite

the fact that in criminal cases, the [Supreme Court s] liberal construction of the

statute should be balanced against a strong judicial policy against federal

interference with state criminal proceedings because preventing and dealing with


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crime is much more the business of the States than it is of the Federal

Government.     People v. Trump, 2023 U.S. Dist. LEXIS 124733, *14 (S.D.N.Y.

July 19 2023) (quoting Mesa v. California, 489 U.S. 121, 138 (1989) (quoting in

turn Arizona v. Manypenny, 451 U.S. 232, 243 (1981)). This means a more

detailed showing is necessary for the removal of a criminal case. Willingham v.

Morgan, 395 U.S. 402, 409 n.4 (1969).

      Far from making a detailed showing, the defendant relies upon grand

statements of limitless authority as he seeks to be treated separately from any other

federal officer. The district court, as outlined above, found that it simply could not

 turn a blind eye to so many weaknesses in the defendant s arguments for

removal. In doing so, it did not clearly err, and no case for an emergency stay of its

Remand Order can be made.

     B. The defendant
        injunction.

     As the district court found in its order denying the defendant s other motion

for a stay, the defendant does not articulate anything more than the mere

possibility of some future harm. Doc. [80] at 6-8. The defendant s claims that his

continued participation in state court proceedings somehow injure him fly directly

in the face of 28 U.S.C. § 1455(b)(3), which states that his continued participation

is expressly what is supposed to happen even after the filing of a notice of removal.

Additionally, the defendant points only to the possibility that he could be set for

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trial in the Superior Court at some point in the next several weeks, not that such a

trial has been set nor that such a trial is at all likely to conclude prior to the

consideration of his appeal. To find that this factor weighs in the defendant s favor

would apply a too lenient standard and allow him to receive a stay despite the

  mere possibility of harm. Nken v. Holder, 556 U.S. 418, 435 (2009).

      C. A stay would result in prejudice to the State of Georgia.
     By contrast, the State of Georgia would suffer prejudice from any federal

interference in ongoing criminal prosecution. As noted above, states have substantial

interests in prosecuting violations of their laws free from federal involvement,

Willingham, 395 U.S. at 409 n.4, and there is a strong judicial policy against federal

interference with state criminal proceedings. Manypenny, 451 U.S. at 243. This

factor weighs in the State of Georgia s favor due to the longstanding reluctance of

federal courts to weigh in on state criminal proceedings.

      D. The public interest weighs in favor of the State of Georgia.
      In addition to the interests in freeing state criminal matters from federal

interference already described, the district court s Remand Order ably describes

how the principles of federalism apply to this case. Doc. [69] at 45-46. Not only

would state comity be preserved by denial of a stay; a denial would also underline

the basic backwardness of the defendant s claims. As noted above, the district court

found that the evidence showed the defendant was outside the scope of his federal



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officer authority when he participated in activities seeking to interfere with state

elections administration. A stay of the Remand Order would be yet another example

of the defendant seeking to disrupt the State of Georgia s lawful exercise of its

authority. Indeed, as discussed below, the defendant seeks to disrupt not just state-

level operations, but the operation of federal law as well.

     This Court should deny the defendant s additional prayer for relief
   requesting an injunction freezing the criminal proceedings in Superior
                                   Court.
     In part III of his motion, the defendant asks that this Court enjoin the State of

Georgia from continuing to prosecute his criminal case in Fulton County Superior

Court. The defendant attempted to receive the same relief from the district court,

who made an obvious point as it denied his motion. Section 1455 provides

exclusively for state court proceedings to continue while the defendant s notice of

removal is being considered. To enjoin the State of Georgia, a federal court would

have to explicitly ignore the language of the controlling statute. 28 U.S.C. §

2455(b)(3). Doc. [25] at 2-5. In addition to the clear federalism interests injured by

a federal court enjoining a prosecution, this Court would arguably be failing to

apply the law at all. Against these grave concerns, the defendant offers only the

 irreparable loss suffered by him as he complies with the clear directives of section

1455. The State of Georgia respectfully requests that this Court deny the




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defendant s second attempt to enjoin his entire case as his notice of removal is

considered.

                                Expedited briefing




                                                                                    3




                                 CONCLUSION
     The defendant continues to minimize the already permissive standards

applicable to him in order to make sweeping claims of apparently endless


3
 The defendant filed a motion to sever in the Superior Court of Fulton County on
September 6, 2023, and so the October 23, 2023, trial date set for certain defendants
may ultimately be of no consequence to him.

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authority. He asks that this Court recognize an essentially unlimited scope of

power for an executive branch employee that would require ignoring statutes and

regulations that he himself admitted were applicable to him. The State of Georgia

asks that this Court find that he has not met his heavy burden for a stay and

deny his motion in all respects.

     Respectfully submitted, this 13th day of September 2023.

                                             FANI T. WILLIS
                                             DISTRICT ATTORNEY
                                             ATLANTA JUDICIAL CIRCUIT


                                             By:

                                      s/ F. McDonald Wakeford
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                      CERTIFICATE OF COMPLIANCE

1. This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f) and Eleventh Circuit Rule 26.1-3(c),

this document contains 3253 words.

2. This motion complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because this motion has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point Times New

Roman.

     This 13th day of September 2023.

                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




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CERTIFICATE OF INTERESTED PERSONS

      As authorized by the Eleventh Circuit Rules, I hereby certify that the

Certificate of Interested Persons contained in the defendant s Motion appears

complete.

                         s/ F. McDonald Wakeford
                         F. McDonald Wakeford



                          CERTIFICATE OF SERVICE

      I hereby certify the foregoing was served upon the following by email:

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      Dated this 13th day of September, 2023.



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                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




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